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                Attachment 1
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                                        March 18, 2025



MEMORANDUM FOR All AGENCIES SUBJECT TO EXECUTIVE ORDER 14230

FROM:                   PAMELA BONDI
                        ATTORNEY GENERAL

                        RUSSELL T. VOUGHT
                        DIRECTOR
                        OFFICE OF MANAGEMENT AND BUDGET

SUBJECT:                 COURT ORDER REGARDING EXECUTIVE ORDER 14230


        On March 12, 2025, a district judge in the District of Columbia entered an order in the
case of Perkins Coie v. U.S. Department of Justice, et al., No. 25cv0716 (D.D.C.), ECF No. 21.
The case involves a challenge to Executive Order 14230 of March 6, 2025, 90 Fed. Reg. 11781
(Mar. 11, 2025), entitled, “Addressing Risks from Perkins Coie LLP.” Pursuant to this order, all
agencies subject to Executive Order 14230 must suspend and rescind any implementation or
enforcement of Sections 1, 3, and 5 of Executive Order 14230, including any reliance on the
statements in Section 1 of the Executive Order.
